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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 19-62762-CIV-ALTMAN/Hunt

 KHALED MALEH,

         Plaintiff,
 v.

 HEALTHCARE REVENUE
 RECOVERY GROUP, LLC and
 INPHYNET SOUTH BROWARD, LLC,

       Defendants.
 _____________________________________/

                                                ORDER

         THIS MATTER comes before the Court upon a sua sponte examination of the record. To

 better manage the orderly progress of the case, the Court hereby

         ORDERS the Defendants in this action to file their responses and motions jointly, unless

 there are clear conflicts of position. If conflicts of position exist, the Defendants shall file a Motion

 for Leave to File Separate Responses and Motions, in which they will describe what those conflicts

 are. If the Defendants need more than twenty pages for their responses or motions, they shall file

 a Motion for Leave to File Excess Pages, which the Court will entertain on an expedited basis.

 Failure to comply with these procedures may result in sanctions, including the striking of the

 motion(s) or response(s).

         DONE AND ORDERED in Fort Lauderdale, Florida, this 6th day of November 2019.




                                                            _________________________________
                                                             ROY K. ALTMAN
                                                             UNITED STATES DISTRICT JUDGE
 cc:     counsel of record
